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/28/88          ENT BEC OF GJ concurring in BIgs, Mt. Case assigned to GF Div.                                                                m~~
                   CiS ordered & issued. Orig SIllS, 1 cpy & cert cpy of indict
                   to USM/Blgs [for ea deft); arraignment 5/20/88 at 9:30 M~
,/28/88
 /28/88
          1 Criminal Cover sheet
          2 INDI<m4ENT
                                                                                                                                                             (
;/06/88    3 Summons rtn'd [servo 05/03/88 on Deft. Creed Evans]                                                                             i! IiAflA.~ ..

;/ll/88   4 NOTICE PF APPEARANCE-Michael Cotter enters appearance on behalf                                                                    I.I5C:I9I'lVI
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                   Creed Evans w/c/m                                                                                                           0HdI"""".
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j/ll/88   5 Deft Evans' Notion to cont arraignment set for 5/20/88 at 9:30 ~ w/c/m                                                           D I.............. ~
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j/ll/88   -- LODGED proposed order re mtn tl5-TO PGH                                                                                         ( (j,(IIIOO
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;/ll/88   6 Deft JolLn Burns' Motion to cont arraignment set for 5/20/88 w/c/~                                                                 -"'8""'"
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;/11/88   -- LODGED proposed order re Btn tl6-TO PGII                                                                                        ~ 1'",,111'#<1
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t/P/88 7 Summons rtnd. [servo 05/05/88 on Deft. John Bur~s]                                                                                    2011", .0
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1"/12/88  8 Summons rtnd. [servo 05/05/88 on Deft. Dan Burns]
;;-'12/88 9 Summons rntd. [servo 05/05/88 on Deft. Mark KnapfJ                                                                                                (
,/12/88 , 10 Deft. JOH W. BllRNS' arraig. seet for OS/20/88 is VACATED & mooj
                  for 05/27/88 @ 9:30 a.m.-cpys, AUM/Brooks. AUSA/GF, Higgins,
                  USPO &: USM.                                                                                                               Gf',_"'n;

;/12/88   II Deft. Greed M. Evans' arraig. set for 05/20/88 is VACATED & mif$'                                                                 ..:I.'_"t
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                  for 05/21188 @9:30 a.m.-cpys. to AUSA/Brooks. AUSA/GF. Cotter
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                  USPO &: USM.
          12 Notice of Arraignment; Arraig. set for 05/20/88 is VACATED &:
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                   Rostad, Bauer, USPO He US!fJ.. Deft. Dan Michael Burns                                                                    lIDoolwuJ.,11
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3/18/88   l' Deft. KR!\.PF Mtn. to Cant. arraig. set for 05/20/88 to OS/27/88                                                                    ~2;11Il(,

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;/18/88   11 ORDER--Arraig. set for.05/20/88 is VACATED & RESET for OS/27/88                                                                   or hOlpito<i,



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5/27/88     15iDeft Greed Evans'. ofion co Dismiss indict for failure to state 'S-?8 zg TiL 135/                                                 l>Y"'U1U~ I
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5/27/88     16 Deft Creed Evans' Memo in sppt of Btn fl15 w/e/s                   ' " . ".0
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5/27/88     17!Dt"ft Creed Evans' Motion to Dismiss indict on the ground of un­       C»"                                                    W",""MM,


               , constitutionality of statutes w/e/s                                                                                           Mde!. 10"
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5/27/88     lBiDeft Creed Evans' Memo in sppt of mtn #17 w/e/s                                                                               o_ t>t,iOO<.>t
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5/27/88     19:Deft Creed Evans' Motion to Dismiss indict for violation of due                                                               '$>.1-""&<>1
                !  process w/c/s                                                                                                               ......,III'Iri'"
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5/27/88     20iDeft Creed Evans' Memo in sppt of mtn to dismiss indict for viol tion
                   of due process w/e/s
5/27/88     21 Deft Creed Evans' Motion for Discovery: l/Rule 16 Evidence;
                   2/Exculpatory Evidence w/c/s                                                                                              I'! !l<t·, .... it

5/27/88     -- ENT REC OF CRT PROCEEDINGS/ARRAIGNMENT [all defts]: Crt, AUSAIRo tad                                                           "'''''''''(....
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                                                                                                                                                 t>to~\If'Mt
                   defts' ret cnsl, all defts & USPC/Pattee present. All defts                                                               , C........,"'"
                   ATN; all defts have cpy of indict & waive reading. All defts                                                                !iJi'"",*""".
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                   plead NOT GUILTY to all charges. Crt advises re possible                                                                    ,-'ng ......
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                   penalties. Crt orders cnsl confer by 6/7/88 & file PT mtns                                                                  ....pll'>"OI
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                   by 6/13/88; charge to jury due 7/12/88; Jury trial set for                                                                n



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                   7/19/88 at 9:30 ~. Deft cnsl Cotter advises that mtns have                                                                    ««I"",m
                   been filed this date. Crt orders all Ocher defts' cnsl have 2                                                               ,.f ("'~<t ,

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                   days to adopt & file th&er mtns; AUSA h.as 20 days to file    I                                                               pI. . llBlif


                   response; deft cnsl have 10 days thereafter to file reply.
                   All defts cont O/R w/o obj                                                                                            !


5/27/88     22:0RDER: Cnsl confer by 6/7/88. Cpys to cnsl/5 [all defts]                                                                      f ) l,.,.j;.,' ....
5/27/88     23 iNOTICE: jury instr due 7/12/88; jury trial set for 7/19/88 at                                                                  ,..'.n
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                   9:30 AM. Cpys to cnsl/5, USM, USPO [all d e f t s J ­                                                                     " ~""~''''
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3/31/88      24 TRANSCRIPT OF PROCEEDIIIGS for 5/27/88 Arraignment [all det'ts]                                                                w'~~"'''''
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     UNITED STATES DISTRICT COURT                  v.~ ~~~        no""'"
     '"'",." ~'"
               Case t\""                 Document 1 Filed 03/15/13 Page 9 of ~
                                   "'" .,LLU.<BUIUIS                         25 OR aa 35-<>1'
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     r-_..:A:::O::...:;2;:.56:::A.:,-_--!.V
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                                                             __KRAPF_B_URN                                           y,    ­
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          DATE                                         PROCEEDINGS (continuedl                                  V. EXCLUDABLE DELA)
     ~------t-(CkIcument No,t ~------.
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      6/2/88            25
                      Deft. Jobn Burns joins in mtns file by deft Creed Miles                                                             7,;t ;;(.;.
                        Evans to: l/dismiss indict for failure to state an ofre se;                                                    / ; hiM.>"   '._
                         2/dismiss indict for viol of due process; 3/dismiss ind ct
                         on basis of unconstitutionality of statutes. Deft adopt
                        memo already on file by Deft Greed Evans w/c/m.
       6/6/88    26 Pltf's Motion for ext of 14 days to file response to
                        mtns to dismiss of defts Creek Evans & John Burns w/c/s
?'
       6/6/88    -- LODGED proposed order re mtn #26-TO FGH
      6/8/88   27 ORDER: Pltf is granted to 6/20/88 to file a resp to mtns
                      to dismiss of defts Greed Evans & John Burns. Cpys to cns 13,
                      AUSA/GF w/c/clk
      6/8/88    28 Deft John Burns' Motion for Discovery w/c/m
      6/9/88   29 Deft Creed Evans' obj to govt's mtn for ext of         days to
                        file response to mtns to dismiss filed by defts Evans &
                        Burns w/c/m
     6/10/88      30 Deft Krapf's Motion to Sever w/e/s
     6/10/88      31 Deft Krapf's Brief in Sppt of Mtn to Sever w/c/s
      6/10/88     3~ ~t Dan ~urns' Objection to pltf's mt~ for ext of 14 days
                      to file response to mtns to dismiss w/c/m
      6/10/88     33 Deft Dan Burns~ joinder in mtns filed by defts Evans &
                       John Burns to: dismiss indictment for failure to state
                       an offense; dismiss indict for viol of due process;
                       dismiss indict on basis of uneonsi tutionali ty of statutE S ,1 c/n
       6/10/88   -- elc Butte issued 4 subpoenas on beha.lf of USA-handed origs
                        & 2 cpys ea to AUSA/BU
      6/13/88   34 Deft John Burns' PT Motions & obj to USA'S mtn for ext to
                        file brief in oppos to defts' mtns to dismiss w/c/m
      6/15/88   35 Pltf USA'S Opposition to Motion to Sever filed by deft
                       Krapf w/c/s attchd to doc #36
      6/15/88   36 Pltf USA'S Memo of La.w re oppos to ntn to sever wlc/s - 'To I'G.I\
       6/16/88 37 ORDER: Evid hrg & oral argmt on defts' PT mtns set for
                       8/11/88 at 2:00 PM in GF. Cpys to cnal/5, AUSA/GF, USM,
                       USPO
     6/17/88     38 ;)eft Creed Evans' Motion to Suppress Evidence w/c/m
      6/17/88' 39 Deft Dan Burns' Motion to Suppress Stmts & Evidence w/c/s
                     [Exh A attached]
     6/20/88    40 NOTICE: Hrg on PT mtns set for 7/11/88 at 2:00 PM. Hrg
                      previously set for 8/11188 is VACATED. Cpys to cnsl/5,
               .      AUSA/GF     USM USPO
      6/20/88  41 Deft Evans~ Notice of Filing Substitue Exhibit G wlc/m [cpy
                      of Affid of Probable Gause attached]
      6/20/88  42 Pltf USA'S Response to defts' Evans, John Burns & Dan Burns I
                      mtn to dismiss indict for unconstitutionality of statutes wi Is
      6/20/88  43 Pltf USA"S Response to defts Evans, John Burns & Dan Burns
                      ntn to dismiss indict for violation of due process wlcls      - 0 PGR
      6/21/88  44 Deft John Burns' Memo in sppt of PT Mtns w/c/m -TO PGH
      6/22/88   45 Deft Creed Evans' Reauest for Bill of Particulars wlc/s
      6/22/88   46 Deft Creed Eval1S' Motion to Sever w/ c/ s
      6/22/88   47 Deft Creed Evans' Memo in sppt of mtn to suppress evidenc w/p/s
                          lExh A-D attached!
       6/22/88   48 Pltf's Notice of Filing Exhibit A which was omitted from
                        Pltf's resp to defts' ~tn to dismiss indict for viol
                        of due process filed 6/20/88 wlcls [cpy of Exh A a.ttach d]
      6/22/88  49 Pltf's Response to defts' Evans, John Burns & Dan Burns mtr
                                +.   fl·'   .    '~"+"'. f'~; 1",'.,       tn obh, ~n   ~D.   .    yhl"
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      UNITED STATES DISTRICT COURT


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                                                                  PROCEEDINGS (continued)
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      /------+<OOCO""'OI N o J - -----------'----j~la),- f--=--+-"''+'::':'
        6/2/88      25 Deft John Burns joins in mtns f'ile by def't Creed Miles              .'
                           Evans to: I/dismiss indict f'or f'ailure to state an of'f'e se; .
                           2/dismiss indict f'or viol of' due process; 3/dismiss ind ct
                           on basis of' unconstitutionality of' statutes. Def't adopt
                           memo already on f'ile by Def't Creed Evans ¥/c/m,
         6/6/88    26 Pltf"s Motion f'or ext of' 14 days to f'ile response to
                          mtns to dismiss of' def'ts Creek Evans & John Burns ¥/c/s
         6/6/88    -- LODGED proposed order re mtn #26-TO PGH
~:
        6/8/88    21 ORDER: Pltf' is granted to 6/20/88 to f'ile a resp to mtns
                        to dismiss of' def'ts Creed Evans & John Burns, Cpys to ens 13,
                        AUSA/GF ¥/c/clk
        6/8/88    28 Def't John Burns' Motion f'or Discovery ¥/c/m
        6/9/88    29 Deft Creed Evans' obj to govt's mtn f'or ext of' 14 days to
                           f'ile response to mtne to dismiss f'iled by def'ts Evans &
                           Burns w/c/m
       6/10/88'     30 Deft Krapf's Motion to Sever w/c/s
       6/10/88      31 Deft Krapf' s Brief in Sppt of' I~tn to Sever w/ cis
        fi/lPI88    3« Deft Dan llurns' O'bjectioH to pltf's mtn for ext of' 14 days
                        to file response to mtns to dismiss w/c/m
        6/10/88     33 Deft Dan Burns '. joinder in mtns filed by defts Evans &
                          John Burns to: dismiss indictment for failure to state
                          an offense; dismiss indict for viol of' due process;
                                                                                           c 1m
                    -- C/C Butte issued 4 subpoenas on behalf of' USA-handed origs f w
                          dismiss indict on basis of unconsitutionality of statute
         6/10/88
                           & 2 cpys ea to AUSA/BU
        6/13/88    34 lLeft John Burns' PT Motions & obj to USA'S mtn for ext to
                          file brief in oppos to def'ts' mtns to dismiss w/c/m
        6/15/88    35 Pltf USA'S Opposition to Motion to Sever filed by deft
                          Krapf w/c/s attchd to doc #36
        6/15/88    36 Pltf USA'S Memo of Law re oppos to mtn to sever w/c/s ~         IPIU                                         ,0
         6/16/88 37 ORDER: Evid hrg & oral argmt on defts' PT mtns set for
                         8/11/88 at 2:00 PM in GF. Gpys to cnsl/5, AUSA/GF, USN,
                         USPO
       6/11/88     38 Deft Creed Evans' Motion to Suppress Evidence w/c/m ­
        6/11/88 , 39 Deft Dan Burns' Motion to Suppress Stmts & Evidence w/c/s
                            '


                       [Exh A attached]
       6/20/88     40 NOTICE: Hrg on PT rutns set for 7/11/88 at 2:00 PM, Hrg
                        previously set f'or 8/11/88 is VACATED. Gpys to cnsl/5,
                        AUSA/GF , USM, USPO
        6/20/88   41 Deft EVans' Notice of Filing Substitue Exhibit C w/c/m [cpy
                        of Affid of' Probable Gause attached]
        6/20/88   42 Pltf USA'S Hesponse to defts' Evans, John Burns & Dan Burns I
                        mtn to dismiss indict for unconstitutionality of' statutes wi Is
        6/20/88   43 PItf' USA"S Response to def'ts Evans, John Burns & Dan Burns
                        mtn to dismiss indict for violation of due process w/e/e        -~O PGH
        6/21/88   44 Den John Burns' Memo in sppt of PT Mtns w/c/m -TO PGH
        6/22/88   45 Deft Creed Evans' Hequest for Bill of' Particulars w/c/s
        6/22/88   46 Defc Greed Eva~ Motion to Sever w/c/s
        6/22/88    47 Def't Creed Evans' Nemo in sppt of mtn to suppress evidencE w/ /S
                            [Exh A D attached]
         6/22/88   48 Pltf's Notice of Filing Ex.~ibit A which was omitted from
                          Pltf"s resp to def'ts' mtn to dismiss indict for viol
                          of due process filed 6/20/88 ¥/c/s [cpy of Exh A attach d]
        6/22/88   49 Pltf's Response to defts' Evans, John Burns & Dan Burns rutr
                          +    n"      . ,,'l' + .., f'"'l",.,, +,n ~b,+,p ~,  "h/«
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                                              HI/CREED EVANS       #4/MARK KRAPF
ITED STATES DISTRICT
                 CaseCOURT      #2/JOHN BURNSDocument 1 Filed 03/15/13 Page 11 of 25
                       4:88-cr-00035-SEH                                                                                CR-88-35-Gl"
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                                                                                      V. EXCLUDABLE OELAY
  DATE                                PROCEEDINGS (continued)
__________f-IDoevm;!nt No.1 __________________~~__________...._ _.....~ __________l...:.:13::.1.j,----:;:lbc.I--_+.'1",cI'f-"d=,-1

6/22/88                --       C/C Butte issued 2 subpoenas-handed origs & 2 cpys ea to
6/23/88                 -- C/&~&{~~ issued 34 subpoenas-handed origs & 2 cpys ea to
                              AUSA!BU        .
/24188                  -- C/C Butte issued 24 subpoenas-handed origs & 2 cpys ea to
                              AUSA/BU
;/27/88                 50 USA'S Motion for ext of time, 2 days, to file response to
                             deft Creed Evans' mtn for disc w/c/m
;/27/88                 -   LODGED proposed order re mtn #50-TO PGH
6/29/88                151 ORDER: Pltf is granted to 6/29/88 to file resp to deft Cree~
                               Evans' Mtn for Discovery. Cpys to cnsl/2, AUSA/GF
,6/29/88                52 r'otice of Fil1ng-Exh. A which was inadvertently omitted
                               fron Gvnt.'s Response to Deft.'s Mtn. to Dismiss Indct.
16/30/88                53 Memo. of' Den., Dan Michael Burns, In Support of' Mtn. to
                               Suppress Evidence-v/c/s.
;/30/88                 54 USA's Opposition to Mtn.s to Suppress
)6/30/88                55 Memo. In Opposition to Mtns. to Suppress-v/c!m.
)6/30/88                -- Iss'd. I orig. Subp., handed orig. w/2 cpys. to US Atty.
                               Butte for service.
q /05/88                56 Subps. rtnd. (4) [servo 06/22/88 on Wayne P. Moran] [cerv
                                06/22/88 on Katherine Loehler sec. for Chailes Lanham]
                                [servo 06/22/88 on Katherime Koehler sec. for Edward
                                M. Owen, Jr.] [servo 06/22/88 on Denise Brown NEA
                                Specialist for Terry Cates]
7/05/88                 57 USA Opposition to Mtn. to Sever-v/c/m.
7/05/88                 58 USA Opposition to Mtn. for Bill of' Particulars-w/c/m.
7/05/88                 -- Iss.'d 1 orig. Subp. handed orig. w/2 cpys. to US Atty.
                            Butte for service.
7/05/88                 59 Den. Evans' Reply to Gvnt.'s Response to Mtn. to Dismiss
                               Indict. on the Ground of Unconstitutionality of Statute,
                                   w/c/m.
7/05/88                    60
                            Den. Evans' Reply to Gvnt.' s Response to Mtn. to Dismiss
                               Indict. for Failure to State and Offense-w/c/m.
7/05/88                 61 Den. Evans' Reply to Gvnt.· s Response to Mtn. to Dismiss
                               Indict. f'or Violation of Due Process41/c/m.
7/05/88                 62 Deft. Evans' 2nd Demand for Exculpatory Evid. ldtbheld
                               by the Gvnt. & Addenda to Mtn. to Dismiss for Failure
                               to State Of'f'ense & for Violation of Due Process & to
                               Suppress-v/c/m.
07/06/88               63 Reply Memo. of Den. JOHN W. BURNS In Support of His Mtns.
                               to Dismiss-w/c/m.
07/07/88                -- Iss'd 1 orig. subp. handed Orig. w/2 cpys to USA Butte
                               for service
OT/ll/88                -- Entered Record of Court Proceedings; PT Mtns.; [Lisa Lewis
                               crt. rptr.] Prior to Hring. on Mtns. AUSA/Brooks moved
                               for the admission of Larry L. Nickell as Spec. AUSA for
                               purposes of this case only, crt. Granted. Nickell is
                               fron US Treasury Dept. BATF, San Franc1co, Calif.
                       '2:00 p.m. W/Crt. AUSA/Brooks, Nicketl, Defts. cnsl. Cotter,
                               Zadick, Bauer & Randono ~         & all deft.'s present.
                               Cotters' Mtn. to admitt Stephen Hall brook for purposes
                               of this case only, Granted by crt. Cotters'Mtn. to
                               exclude witnesses from crtroom Granted. Julius WatchteJl
                               Special Agent US. Treasury, BATF, Helena, was SiT in USA's
                               behalf, in re to Suppression Mtns.
                                                                                                    Interva!     Stan Date   : Lu. Tota
                                                                                              iper Section II)   ~Da(e       'Cod Day
                           #l/Creed Evans                     #4/lIIark Krapf
     Case 4:88-cr-00035-SEH#2/John Burns1
                              Document                Filed 03/15/13    Page 12 of 25
                           #3/Dan Burns


    DATE                                  PROCEEDINGS (continued)
                                                                                              (a; i        lb)

                   MINUTE ENTRY CONTINUED:
                       All defense cnsls. cross-exam of Watchtell.
                       Deft. (EVANS) Exhs. A, 4 & 3 were marked offered &
                       ad. w%bj. Deft. (EVANS) Exhs. 1, D & 2 were marked.
                       USA's Exh. 1 was marked. Brooks re-direct exam of
                       Watchtell. Crt. excused Watchtell. Crt. questions
                       respecti ve cnsl. in re to their remaining Mtns. @ issue
                       & their reasons for not being able to go to trial on
                       07/19/88 @9:30 a.m. Cnsl. resonded. Crt. cant. this
                       matter until 07/14/88 @ 9:00 a.m.
                5:20 p.m. Crt. in recess
07/11/88        6~ Subps. rtnd. 15 by USA
                       Servo Sharon Bailey on 07/06/88
                       Servo Randall Callison on 07/06/88
                       Servo Rolando Campos on 06/30/88
                       Servo Curtis Hawley on 07/06/88
                       Servo Diana Ofta 06/30/88
                       Servo Mara Holley on 07/06/88
                       Servo Virginia Leininger on 07/06/88
                       Servo Patricia l>!eyer on 07/06/88
                       Servo Steve Middlesworth on 07/05/88
                       Servo Brad Nelson on 07/05/88
                       Servo Albins O'Loughlin on 07/06/88
                       Servo Hayes Otonpalik on 07/05/88
                       Servo Hex Seeley on 07/06/88
                       Servo George Waggoner on 07/05/88
                       Servo Dpty. Douglas Weloh on 07/05/88
07/12/88       165 Deft. Dan Miehael Burns Waiver of Speedy Trial_/e/m.
07/12/88        66 Deft. Dan Miehael Burns Mtn. for Cont. of Trial_/e/m. '"
07/12/88        67 Deft. John W. Burns Mtn. for Order to Require Disevy ._/e/~.
07/12/88        68 Deft. John W. Burns Mtn. for Cont. of trial set for -
                          07/19/88 Deft. John Burns does not feel ~t SPeeat
                          Trial should be eharged against them:-,,/e/mi
07/12/88           69   Deft. John W. Burns' Proposed Jury Instruetion~-v/e/m.
07/12/88           70   Subps. rtnd. 5 USA
                           Servo David Reiniche on 07/05/88
                           Servo Martin Lair on 07/01/88
                           Servo Robert Hill on 07/05/88
                           Servo Robert Nagode on 07/05/88
                           Servo Janae Frost on 07/07/88
07/12/88       I   71   Deft. Creed M. Evans Mtn. toDismiss for GJ Misconduct
                          ,,/e/s.
07/12/88           72   Deft. E.'vans Memo In Support of Mtn. to Dismiss for GJ Mis ond ct
                          ,,/e/s.
07/12/88           73   Deft. Creed M. Evans Mtn. for Cont. of Trial set for
                          01/19/88_/e/s.
07/l2/88 k .       14   Deft. Evans Memo. In Support of Ntn. for Cont. of Trial
                          ,,/Mf'. attached Waiving speedy Trial_/c/s.
07/12/88                Aff. of Michael W. Cotter cnsl. for deft. Creed M. Evans
07/12/88           76   De:ft. Creed M. J!.'vlms Requested Jury Instructions
07/13/88           71   USA's Response to John William Burns' Mtn. for Discvy.
                          ,,/c/m.   Orig. to be SUbstituted.

                                                                                       Interva!       Stan Date    l
                                                                                (per Section III        End DaTe   C,
                                          #l/Creed Evans       #4/Mark Krapf
                 Case
ITED STATES DISTRICT COURT     #2/John Burns
                      4:88-cr-00035-SEH    Document 1                  Filed 03/15/13       Page 13 of 25CR-88..,35-GF-PGH, ..
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     AO 256A

                                             PROCEEDINGS (continued)                                 V. EXCLUDABLE DELAY
   DATE
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- - - - - + l O o c u m e n l No.)   ----------------------------+--'=-'-+--=--+--'-'-'-1--=
7/13/88           78  Deft. John William Burns joins in Mtn. of deft. Creed M.
                            Evans to dismiss the Indict. for GJ misconduct-v/c/m.
,/14/88            79 INFORMATION FOR Deft. MARK JOHN KRAPF
'/14/88            80 PLEA, AGREE. for Deft. Mark John Krapf
7/14/88
           ....    -­  Entered Record of Proceedings; PT Mtns.cont. from 07/11/88
                            [Lisa Lewis crt. rptr.] 9:00 a.m. W/Crt., AUSA/Brooks,
                            Special ASUA/Nickell, all deft.'s & all ret. cnsl.,
                            Cotter, Zadick, Bauer & Randono present. At this time
                            the Crt. looked @ completed Machine Gun.
                   9:06 a.m. Randono stated to crt. that his Clinet KRAPF had
                            signed a plea agree & new Infor. had been filed. Brool~
                            concurs w/stmt. No obj, from other cnsl. & Randono
                            & KRAPF excused from this hring. C/P hring. to be
                            set.
                  9:08 a.m., Zadicks' Mtn. to Sever his clinet from other defts.
                           Brook's respond & all defts. cnsl. concur in Mtn.
                  9:10 a.m. Zadicks Mtn. in re to Discvy. matters. Cotters stmt.
                            in re to same. Brooks stmt. in rebutal. Crt. Grants
                           Mtn. of deft. Zadick that dcts be furnished deft.'s
                           w/all names shwoing, not blacked out. Zadick to
                            furnish cr. w/proposed order. All Defense cnsl. submit
                           Mtns. in re to further disccvy. maters, Brad Material
                           Upons crt.s request, Brooks stmt. to Crt. in re to
                           what constitutes his Conspiracy Charge in the Indct.
                            Zadick, Cotter & Bauer's stmts. in re to same. Brooks
                            stmt. in rebutal.
                           John G. Krogman, William Haverstick, Lance Hart, Brian
                           Downey, John William Burns & Dan Michael Burns were
                           all duly SIT.
                           Deft. EVANS Exhs. 5, 6, 7, 8,31)& 10 were marked, off.
                           & ad. wo/ obj .
                        .,..)3eft. D.M. BURNS Exhs. 1, 2 & 3 were marked, off. &
                           ad. w%bj.
                           Deft. J.W. BURNS Exh. 1 was marked, offered & ad. wo/
                            obj.
                           Deft. J.W. BURNS Exh. 2 was marked off. & ad. with
                            objs.
                  4:09 p.m. crt. cont. matter to 07/15/88 @ 9:30 a.m. & crt. in
                           recess.
7/15/88               Entered Record of Crt. Proceedings; Continuation of PT
                           Mtns.; [Lisa Lewis crt. rptr.] 9:30 a.m. w/ all
                           present PT Mtns. hring. resumed. Brook's argument to
                           Crt. in re to Maranda, False Stmts. of Aff., Consent
                           to Search Argument by Nickell. Zadicks Argument to
                           Crt. in re to Suppression of Stmt. made by J.W. Burns.
                           Cotter's Argument to Crt. in re to False Stmts. of
                           Aff. & no Criminal Intent.
                           Bauer's Arguemnt to Crt. in re to False Stmts. of Aff.
                           Maranda & Suppression of Stmt. made by D.M. Burns.
                           Brook's Arugment in rebuttal of Defense cnsl.s argument~.
                            Cotter's response. Nickell's response.
                            Crt. Ordered TWJ set for 07/19/88 be VACATED. Crt.
                            takes all mtns. under advisement.
                  10:15 a.m. Crt. in recess.

                                                                                              Interval     Start Date    Ur. TOlal
                                                                                        (per Section II)   ---rnd Date   Code Day
        UNITED STATES DISTRICT COURT          #2/Jobn Burns
•   <   CRIMINAL DOCKET  t\  U. S. V$
              Case 4:88-cr-00035-SEH          #3/Dan Burns
                                              Document 1 Filed 03/15/13         Page 14 of 25            ~ CR-88-35-Gf
              AO 256A         V                                                                              Yr.    I   Docket N

             DATE                                PROCEEDINGS (continued)                                 1/. EXCLUDABLE
        i------f-'(DocIJtrlent No.1 ~-..... - - - - - - - - - - - - - - - - - - - - - - l ,::(0'-..1+-_~fb'-..I_-I
         07/15/88       81     USA's 8: all Deft.'s Witness List
         07/15/88       82     Exhibit List for all parties
         07/15/88       83     Notice of C/P Kring.--C/P Kring. set for 07/20/88 @
                                    9:30 a.m.-cpys. to .AUSA/Brooks, AIlSA/OF,Bandono, USPO
                                    & USN.
         07/15/88        84     Certlficiate of Service-by Cotter of his Requested Jury
                                    lnsts.
        07/15/88              All Exhibits t'rom PT Mtns. Kring. in VAULT.
    ** 07/14/88         85     Subps. rtnd. [Serv. 07/05/88 on Mary Riker-:-2:" Subps. same
                                     Date of service] [servo 07/05/88 onJobn Mottl
        O~( /14/88      86     Subps rtnd. on behalf of USA;
                                 [servo 07/05/88 on Clifford Piequet]
                                 [servo 07/01/88 on Richard Tummerman]
                                  [servo 07/05/88 on Allan Carlson]
                                  [servo 07/07/88 on Brian Busch]
                                  [servo 07/07/88 on James Kelly Reed]
                                  [servo 07/11/88 on Eugene S. Hawes]
                                  [servo 07/11/88 on Richard Blaine]
                                  [servo 07/07/88 on Dan Korn]
                                  [serv. 07/07/88 on David I~. Deloia]
                                  ,servo 07/01/88 on Bruce Witherell]
                                  [servo 07/01/88 on Mark T. Harlan]
                                  [servo 07/07/88 on Robert Gee]
                                  [servo 07/01/88 on Michael Migues]
                                  [servo 07/01/88 on Dennis Russell]
                                  [servo 07/06/88 on Norman Shofner]
                                  [servo 07/05/88 on Steven R. Price]
                                  [servo 07/01/88 on Ronald G. Barlow]
                                  [servo 07/05/88 on Gene D. Riggs]
         7/18/88        87    ORDER: Based on deft Jobn Burns' mtn, pltf to provide
                                  defts w/complete cpys of documents previously produced
                                  8: to be produced from files of Bureau of Alcohol, Toha co
                                  & Firearms. Cpys to cnsl/5, AUSA/GF
         07/20/88             Entered Record of Crt. Proceedings; Change of Plea for
                                 Deft. Mark John Krapt'; [Lisa Lewis Crt. Rptr.] W/Crt.
                                 AUSA/Rostad, deft. & his ret. onsl. Randono 8: USPO/
                                 McElhenney present. Randono's Stmt. to crt. in re to
                                 Plea Agree. Plea Agree, is unconditional, deft. will
                                 testify @ trial of co-defts., USA will recommend no
                                 incarceration & remain silent @Setn. Crt. advised def
                                 of all rights undr the law. Deft. entered plea of
                                 GUII,TY to Superseding Infor. Deft.' s stmt. in re to
                                 facts of incident. USA's Stnt. of Proof. Crt. accepts
                                 plea as being freely & voluntarily made. Crt. Ordered
                                 Sentencing set for 08/29/88 @11:00 a.m. 8: Ordered
                                 PSR be submitted by USPO prior to Sent. date.
          07/20/88      88     Notice of Sentencing; Sent. t'or Dert. Mark John Krapf
                                 set t'or 08/29/88 @ ll:OO a.m.-cpys. to lI.USA/Brooks,
                                 .AUSA/GF, Bandono, USPO & USN.
         07/21/88       39    TranscriRt of Change of Plea Proceedings on 07/20/88 t'or
                                  Dert. MARK JOHN KRAPF
         07-24-88       90    Twelve (12) Subpoenas rtnd w/SVc. for hearing on 7/19/88 fa U A:
                              (1) Keith Garretty svd 7/11/88; (2) Russell Henningsgaard /1 /88       !



                                                                                                IntftfVa!          Start Date
                                                                                          (per Section It)           End Date
                                             #1 Creed Evans
                 Case
ITED STATES DISTRICT   4:88-cr-00035-SEH
                     COURT          #2 John Document
                                            Burns    1                Filed 03/15/13                  CR-88-35-GF-PGH .
                                                                                           Page 15 of 25
 MINAL DOCKET                       #3 Dan Burns
    AO 256A                                  #4 Nark Kranf
                                           PROCEEDINGS (continued)                           V, EXCLUDABLE DELAY
  DATE
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'-24-88       I,     Twelve ( 12 ) Subpoenas rtnd eont.------------------------­
                        (3) Terry Brockman svd7/12/88; (4) Gordon Lee Col svc 7/11 88;
                        (5) Burke Nay sve 7/8/88: (6) Robert Snell svd 7/11/88;
                        (7) Gary Roper svd 7/7/88; (8) Carol McGreal sve 7/11/88;
                        (9) Eugene L. Sherman sve 7/12/88; (10) Dennis Peterson
                             sve 7/11/88: (11) Wm Henderson svd 7/6/88; (12) Stephe
                             Sombart svd 7/13/88
7-24-88            91 Pltf's Response to Mtn to Dismiss of John Wm Burns w/e/s/m_"p P(H
8/4/88             92 Orig Subpoenas w/rtn on following: neil Tillett svd 7/15/81
                              noel Philip Larson svd 7/19/88
8/26/88            93 Order Cont. Sentencing; Deft. KRAPF Sent. set for 08/29/88
                            @ 9:30 a.m. be cont. to 1:30 pm on same date-v/c/c/m.
                            to AUSA/Brooks, AUSA/GF, RAndono, Cotter. Higgins, Bau, r.
                            USPO & USN.
1/29/88             94 Deft. Krapf;s Sentencing Letters
1/29/88             -- Entered record of crt. proceedings; SENTENCING [Deft. Mark
                                       John Krapf] [Lisa Lewis crt. rptr.] W/ert.
                         AUSA/Darragh, deft. & his ret. ensl. R. Randono & USPO's
                         Pattee & Waters present. All parties have cpy. of PSR
                         no corrections. Randono's stmt. to crt. in 1"0 to sent.
                                       recommends unsupervised prob. period less
                                       than 1 yr. Darraghs stmt. to crt. in re to
                                       sent., reco~~ends no jail time, any prob. to
                                       crts discretion. Crt. ordered that deft. be
                                       fined in the sum of $200.00 & to pay CVF
                                       $50.00.
19/29/88            -- Confidential Presentence Report [left side of fi1e]
)9/29/88            -- Receipt #16169 in the amt. of $200.00 Can 400 for Deft.
                          Krapf fine.
8/31/88            95 FILED & ENTERED In CRIMINAL DOCKET VOLUME 9. PAGE 48/JJUEllGMlo!rrr
  KRAPF
                            & ORDER: Deft convicted on plea of guilty of offense
                            charged in info. Crt notes sent is not imposed under
                            Sent Reform Act, but under prior law. ORDERED & ADJUDG;,~
                            that deft KRAPF pay US fine in amt of $200 immed.
                            $50 CVF pursuant to 3013. 5 cert cpys to U8M/GF, 2
                            epys to USPO, cpys to cnsl/2, AUSA!GF
9/02/88            96 Transcript of Sentencing Proceedings on 08/29/88 on Deft.
                           lrnAPF
LO/14/88           ~7
                    SATISFACTION OF JUDGb~~T-case pd or otherwise settled, Clk
                        'is authorized to satisfy judgment. Cpys to cnsl/2,
                         U8M, USPO[Krapf]
2/14/88          98 PLEA AGREEm:rI'I' [Dan Burns]
2/14/88          99 Deft Dan Burns' Motion for hrg to change plea
.2/14/88       ! -- LODGED proposed order re mtn to change plea -TO PGH
12/15/88       100 ORDER: Change of Plea set for 12/20/88 at 2:00PM. Cpys to
                      cnsl/2, AUSA!GF, U8].1, USPO, Crt Reporter [DAl1 BURNS]
12/20/88        -- ENT REC OF CRT PROCEEDINGS/Change of Plea for DAN BURnS:
                      Crt, AUSA/Darragh, deft ret cnsl/Bauer, deft & USPO/Patt e
                      present. Deft cnsl agrees that uspers info can be filed.
               ,      Crt reviews plea agmt: Deft will plead guilty to Cnts 1
                      & 2 of supers info & AU8A will make reco~~. Crt advises
                      re possible penalty & rights to trial & appeal. Deft pIe ds
                      nolo to Cnts 1 & 2 of supers info; AUSA states obj; crt
                      overrules obj. Deft agrees to be sent at this time. Crt'
                                                                                              Inter'Vaj    Start DatEr   Ln. TOlal
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UNITED STATES DISTRICT COURT       #2 John Burns
      Case
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                                   #3 Dan Burns                  Page 16 of 25         ~ CR-88-35-GE
                                   #4 Mark Krapf
      AO 256A                                                                                Yr.     I   Docket Nc

     DATE                       PROCEEDINGS (continued)                      V. EXCLUDABLE
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 12/20/88         -- Crt proceedings cont: judg: Deft fined $100 ea cnt [$200]
                         & $25. CVF on ea cnt [$50]. Crt orders post sent report
12/20/88         -- Receipt #16421-$50 CVF & $200 fine pd in cash [$250 total]
12/20/88 .       101 SUPERSEDING INFORMATION FOR DAN BURNS
 12/27/88        102 Judgment & Order-Filed & Entered In Criminal Docket
                           Volume 9 Page 70 Deft. Dan Michael Burns; Deft. pay
                           $250.00 consisting of: Ct. I, fine of $100.00 & specia~
                           assessment of $25.00 CVF. Ct. II fine of $100.00 &
                           special assesment of $25.00 CVF. Sum to be paid
                           immediately-~/c/c/m to AUSA/Brooks-2 cert. cpys., AUSA
                           GF, Bauer, USPO-2 cpys. & USM/5 cert. cpys.
 12/28/88         103 Transcript of Change of Plea & Sentencing Proceedings
                            on 12/20/88
12/28/88          104    Satisfaction of Monetary Judgment-w/c/m. Dan Burns
01/04/89          105    Order Granting excludable delay from 07/20/88 to
                             12/20/88 for a total of 152 days .:U;tw f"<    '"
03/06/89                Post Presentence Report Deft. DAN MICHAEL BURNS [left
                          side of file. 1
 05/16/89         106 MEMORANDUM & ORDER--Mtns. to Dismiss of deft.' s Evans
                            & J.W. Burns are DENIED.  TWJ set for 06/06/89 @
                            9:30 a.m. Charge to jury by 05/30/89-~/c/c/m to
                            AUSA/Brooks, Cotter, Zadick, Bauer Randono, USPO.
 05/18/89        --- Lodged Proposed Stip. for Subt. of Cnsl.-William L. Burns
                            of la~ firm Peterson, Peterson, Burns & Shors be
                            subst. as cnsl. of record for deft.'s John William Burns &
                            Dan Michael Burns in place of Ugrin, Alexander, Zadic~ & Slovak
                            ~/proposed order-to PGH
05/19/89         107 Stipulation for Substitution of Cnsl. & Order--la~ firm
                          of Peterson, Person, Burns & Shors be subst. as cnsl.
                          for deft. 's John William Burns & Dan Michael Burns in
                          place of la~ firm Urgin, Alexander, Zadick & Slovak
                          ~/c/c/m to AUSA/Brooks, M. Cotter, Zadick~ Wm. Burn!>.
 OS/22/89        108 Order Granting Excludable delay from OS/28/b8 to 04/16/89
                             for a total of 351 days. Deft. Creed Miles Evans
 OS/22/89        109 Order Granting Excludable delay from 06/03/88 to 04/16/89
                             for a total of 348 days. Deft. John William Burns
 5/23/89          -- Issued 18 subpoenas-handed origs & 2 cpys ea to AUSA/BU
 5/23/89              Issued subpoena for Michael Migues-C/C Butte handed orig
                           to AUSA/BU
OS/26/89         110 MEMORANDUM & ORDER--Mtn. s to Suppress of both deft.' s
                         Evans & John Wm. Burns are DENIED in their entirety
                         ~/c/c/m to AUSA/Brooks, Cotter, Burns, USPO, Bauer &
                         Randono.
 OS/26/89        III Deft. Creed Evans' Mtn. to Reconsider the Court's Memo. &
                        Order of 05/16/89-~/c/m.
 OS/26/89        112 Memo. In Support Deft. Creed Evans' Mtn. to Reconsider
                        the Crt.'s Memo. & Order of 05/16/89-w/c/m.
 05/30/89        113 Gvnt.'s Mtn. to Dismiss Ct.'s 17, 18,21, & 26 through 34
                           reasons 1/ cts. are cumulative & some refer to indiv.
                           "ho have already plead. 2/ delays ,,/getting to trial
                           sufficient evidence no longer exits to sustain burden
                           3/ trial to take considerable time & by dismissing
                           cts. approximately 20 Yitnesses can be dismissed-vcm.
05/30/89        r-- Lodged Proposed Order in re to #113 to PGH
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ITED STATES DISTRICT   4:88-cr-00035-SEH
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                                  #2 John Burns              Filed 03/15/13 Page 17 of 25
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   AO 256A

                                   PROCEEDINGS (continued)                            V. EXCLUDABlE rlELAY
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5/30/89      114 Gvnt. IS Mtn. for Ext. of Time :for add. 1 day to file
                         charge to jury-v/c/m.
5/30/89            Lodged Proposed Order in re to #114 to PGH
5/31/89      115   OImER-Ct. 's 17. 18.21 &: 26 through 34 o:f Indict are
                         dismissed-v/c/c/m to AUSA/Brooks. Cotter. Burns.
                         USPO
5/31/89      116   OImER--Plt:f. has to &: including 05/31/89 to prepare &: :fi e
                         their charge to jury---w/c/c/m to AUSA/Brooks.
                         Cotter. Burns
5/31/89      117   Deft. Evans Mtn. to Vacate The Trial; for reason that
                         mtns. are pending. Evng' request for Bill of
                         Particulars :filed 06/22/88 to which the gvnt. has
                         not responded. For medical reaSonS of deft.'s
                         cns!. W/ A:ff'. o:f Cotter attached-de:ft. will _ive
                         speedy trial &: gvnt. has no obj.-v/c/m
5/31/89      118   Pltf/USA'S Jury Narrative w/c/s [cpy for crt]
5131/89      119   Deft Creed Evans' requested jury instructions [cpy for (rt]
6/1/89       120 Deft John Burns' Motion to Dismiss w/c/m
 6/1/89      121 Deft Creed Evans' Motion in Limine reo ref to type of fire rm I/C/S
 6/1/89      122 Deft Creed Evans' Memo in sppt of mtn in limine w/c/s
6/1/89            Reed Itr from Cotter re deft Creed Evans' mtn for disc fi.~d
                         5/27/88 [orig to PGH]
6/1/89      123 Pltf/USA'S Obj to granting mtn to vacate trial w/c/s
6/1/89      124 Pltf/USA'S opposition to rntn to dismiss of John Burns w/e/s
6/1/89            C/C Butte issued subpoena for John Meister-handed orig to AUS /BU
 6/2/89     125 Deft Creed Evans' Response to gov't obj to mtn to vacate
                      trial w/c/m
6/2/89      126 Deft John Burns' Memo in sppt of mtn to dismiss for lack
                      of ST w/c/m
6/5/89      -- Issued 22 subpoenas in blank-handed origs to deft cnsl
;/6/89       27 MEMO & ORDER: Deft John Burns' mtn to dismiss is DENIED.
                    Cpys to cnsl/2, AUSA/GF, USM, USPO
;/6/89       -- ENT REC OF CRT PROCEEDINGS/Change of Plea & Sentencing:
                    Crt, AUSA/Brooks, deft ret cnsl/William Burns & deft
                    present. AUSA advises re plea agmt: AUSA will file super
                    info, deft will plead nono & AUSA will dismiss orig indi t.
                    Crt advises deft re rights to trial & appeal. Deft plead
                    nolo to supers info. AUSA'S mtn to dismiss indict; crt
                    grants. Deft waives PSR. AUSA makes obj to nolo plea;
                    crt overrules. Crt accepts nolo plea. Crt's judg: deft
                    fined $100 on ea cnt [$200.] & forfeiture of parts. Crt
                    executes order to dismiss Cnts 2-10 & 37 [John Burns]
;/6/89       -- Receipt #17343 fOf $200. cash for pmt of fine [John Burns]
;/6/89       128 PLEA AGREEMENT     John Burns]
;/6/89       129 SUPERSEDING INFORMATION [John Burnsj
;/6/89       130 Pitf/USA'S Motion to Dismiss Cnts 2-10 & 37 of indict
                   against John Burns
;/6/89       131 ORDER) Cnts 2-10 & 37 of indict against John Burns are DIS ,IS: ED
                   Cpys to cnsl/2, AUSA/GF, USM, USPO
06/06/89     --- Entered Record of' Crt. Proceedings; Trial With Jurv Dav ( ).
              9:20 a.m. W/Crt., AUSA/Brooks, Larry Nickells, deft. EVAnS
[.isa Lewis
                    VI/ret. cnsl. Cotter in chambers. Crt. advised cnsl. thqt
crt. rptr.
                    all outstanding mtns. are denied. Crt. GRANTED deft.'s
                                                                                Interval     Start Date   ltr. TOI"t
                                                                          (per Section II!     End Date   Cod Days
      Case 4:88-cr-00035-SEH        Document 1 Filed 03/15/13    Page 18 of 25
UNITED STATES DISTRICT COURT
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     DATE                             PROCEEDINGS (continued)                        V. EXCLUDABLE D
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                   Day (1) of TWJ cont.

                      Mtn. In Limine tt,at machine gun not be referred to by
                      any other name.
                   9: 40 a.ll'.. W/Crt., AUSA/Brooks, ATF cnsl. Nickell, Agent
                      Watchatel, deft. EVANS w/ret. cnsl. Cotter & ( ) prospective
                      jurors present, trial commenced. Crt. questioned jurors
                      as to their qualifications to serve as jurors, Oath #1
                      Margaret Delger excs. by crt. Cnsl. introduces themselveE
                      & clients & agensts. Katherine Saba, Thomas Majerus,
                      Sarah Duncan, Richard Jallings, David Jensen, Gary Blakemcre,
                      Thomas Kohut, Russell Verplogen & Lon Peterson excused
                      for cause. (34) prospective jurors called. Crt. 's voir
                      dire. Donald Larson exes. & Allen F. Woodwick drawen as
                      prospective juror.
                   10:21 a.m. Gvnt.'s voir dire. Brooks passes jurors for
                     causea
                   10:24 a.m. deft.'s voir dire. Betty Westbur excs. for caUSE
                     & Lloyd Olson drawen as prospective juror. Deft. passes
                     jurors for cause.
                   10:45 a.m. Peremptory Challgnees
                   Gvnt.'s Cha!lgenges
                   1/ Allan Woodwick
                   2/ Rita Johnson
                   3/ Lloyd Olson
                   4/ Pass
                   5/ Pass
                   6/ Pass
                   Alternate: Janet Mansikka
                   Defendant' s Challenges
                   1/ Carol Bain
                   2/ Betty Barnhart
                   3/ Pass
                   4/ PasS
                   5/ Pass
                   6/ Pass
                   7/ Pass
                   8/ Pass
                   9/ Pass
                   10/ Pass
                   Alternate: Bonnie Hayes
                   JURORS CHOSEN
                1/ Deanna Baker                 7/ Kenneth Brandvold
                2/ Silas Carter                 8/ Patricia McQuire
                3/ Richard Osksa                9/ Yoshiko McManus
                5/ Lloyd Wollery               10/ Geraldine Briere
              ! 6/ Hazel R~erson               11/ Charlotte Hanson
                Alt. #1: Scott Foss"urn        12/ Laurie Brown
                Alt. #2: Charles Turner
                11:00 a.m. Crt. thanked & excused jurors not chosen
                11:03 a.m. Crt. read prel~lUinary 1nses. to jurors.
                1:09 a.m. crt. recess subject to call
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                                     #1 Creed Miles Evans 1           Filed 03/15/13       Page 19 of 25
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    DATE                                    PROCEEDINGS (continued)                                V. EXCLUDABLE CJELAY
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                    11:25 a.m. w/all present, trial resumed @which time Brooks
                          gave gvnt.'s Opening Stmt. to jurors.
                    11:38 ~.m. Cotter gave deft.'s Opening Stmt. to jurors.
                    12:02 p.m. Crt. admonished & exes. jurors until 1:30 p.m.
                    1:28 p.m. trial resumed.
                    1:30 p.m. John William Burns SIT gvnt.'s behalf.
                          Pltf.'s Exh.'s 1,2, 5.3,6,7,9 admitted into evidenpe
                    2:47 p.m. crt. in recess. Cross- exam of Burns will be done
                          on 06/07/89.
                    3:11 p.m. trial resumed at which time Shawn Bryant, SIT gvnt.'s
                          behalf.
                          Pltf.'s exh.'s 10,11,12,13,14,15,16,17.18,19,
                          20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31 & 32
                          were admitted into evidence.
                    4:01 p.m. cross-exam of Bryant by Cotter
                    4:06 p.m. Witness Bryant exes.
                    4:07 p.m. Rex Seeley SIT in gvnt.'s behalf.
                    4:38 p.m. cross-exam of Seeley by Cotter.
                    5:07 p.m. Crt. admonished & excs. jurors until 06/07/89 @ 9:0p
                          a.:n.
 06/06/89           132 Jury List W/Cha11enges
 06/07/89           --- Entered Record of Crt. Proceedings; Trial With JUry
 Lisa Lewis               Day (2l.i,
 crt. rptr.         9:00 a.m. W/Crt., cnsl., deft. & all Jurors present trial
                          resumed.
                          Susan Reed, SiT gvnt. 's behalf.
                          Pltf.'s Exh. 34, 35, 37, 39, 40,
                    9:24 a.m. cross-exam of Heed by Cotter.
                    9: 26 a.m Wicness Reed exes.
                    9:28 a.m. Rex Seeley recalled still under oath to cont.
                          tesoimony on cross-exam.
                          Deft.'s Exh. 00, PP, QQ were admitted into evidence
                    10:03 a.m. re-direct exam of Seeley by Brooks.
                    10:18 a.m. re-cross exam of Seeley. Witness Seeley excused.
                    10:25 a.m. crt. in recess subject to call.
                    10:48 a.m. Trial resumed at which time John William Burns wa,
                          recalled still under oath to give testimony on cross e am
                          by Cotter.
                          Deft. 's exh. 's K, L, MM, NN. RR, SS, T'l' , were admitted
                           into evidence.
                    11:35 a.m. re-direct exam of ,r.w. Burns by Brooks
                    11:53 a.m. re-cross exam of Burns by Cotter. Witness J.W.
                          Burns excused.
                    11:57 a.m. crt. admonished & exes. jurors until 1:30 p.m.
                    1:29 p.m. w/all present trial resumed.
                    1:31 p.m. Terry L. Cates duly SIT in Gvnt.'s behalf.
                          Pltf.'s ec=xh. 33 was admitted.
                    1:43 p.m. cross-exam of Cates by Cotter
                          Deft. exh. Ill, V, UU, YV, were admitted into evidence.
                    2:38 p.m. re-direct exam of Cates by Brooks. Witness Cates
                          excs. subject to recall.
                    2:41 p.m. crt. in recess subject to call
                    3:06 p.m. wo/jurors crt. & ensl.. discuss witnesses who will
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      Case 4:88-cr-00035-SEH      Document 1 Filed 03/15/13    Page 20 of 25
UNITED STATES DISTRICT COURT
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     DATE                           PROCEEDINGS Icontinuedl                       . V. EXCLUDABLE D
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                 Day (2) of Trial With Jury Cont.;

                 3:08 p.m. w/jurors now present trial resumed at which time
                     Wayne ~!oran duly SIT Gvnt. 's behalf.
                     Pltf.'s Exh.'s 43, 44, were adudtted.
                     Deft.'s exh. WW was admitted
                 3:56 p.m. re-direct eam of Moran by Nickell
                 3:58 p.m. re-cross of Moran by Cotter. Witness Moran exes.
                 4:00 p.m. William A. Henderson duly S/'1.' in g=t. I s behalf.
                     Pltf.'s exh. 47, admitted.
                 4:27 p.m. crt. in recess subject to call.
                 4:36 p.m. wlall present trial resumed, Henderson cant.
                     w/testlmony on direct exam.
                     Pltf.'s exh. 48, 50, 51,     ,53,54 were admitted.
                 5:08 p.m. crt. admonished & exes. jurors until 06/08/89
                     at 9:00 a.m.
 06/08/89             Entered Record of Crt. Proceedings; Day (3) of Trial
                        v/Jury; [Lisa Lewis crt. rptr.]
                 9:02 a.m. W/Crt., Cnsl., deft. & 14 jurors present, trial
                        resumed at which time Wm. A. Henderson cont. w/testinpny
                        on direct exam still under oath.
                        Pltf.'s Exh. 46, 46A, 46B,46C, 46D 46E, were admitted.
                 9:12 a.m. cross-exam of Henderson by Cotter.
                        Deft.'s exh.'s XX, XXA, YY were admitted.
                 10:18 a.m. re-direct exam of Henderson by Brooks.
                 10:40 a.m. re-cross exam of Henderson by Cotter.
                        Deft.'s exh. ZZ was admitted.
                 10:48 a.m. crt. in recess subject to call.
                 11:02 a.m. wlall present trial resumed at which time crt.
                        admonished & excused jurors until 1:30 p.m.
                 11:34 a.m. in chambers w/crt., ensl. & deft. present. Brool!~
                        states terms of Agree. Deft. will plead Nolo Contencra
                        to (1) Ct. Flase Stmt., dropp all litigation, have
                        right to appeal orders of this crt. USA recommend
                        minimal fine & no incarceration, deft. waives PSR.
                        Deft. to dispose of all firearms wli 75 days &
                        return w/1 (75) days F.F.L.'s to ATF. Deft. & all
                        cnsl. agree this is agreement. Acts are before
                        sent. guidelines. Crt. agrees to accept plea on term~
                        of --Crt. wants 1 yr. prob. & 100 brs. of community
                        service & $200.00 fine. Cnsl. & deft. agree.
                 11:54 p.m. crt. in recess until 1:30 p.m.
                 1:23 p.m. w/all present trial resumed at which time crt.
                        advised the jury that cnsl. & deft. had reached a
                        plea agree. Crt. tha~ed & excused jurors.
                 Deft.'s Mtn. to reconsider crt.'s prior rullings was DENIED.
                        Plea Agree. filed w/crt. Proposed Infor. submitted.
                        Crt. advised deft. of all rights under the law & max.
                        possible penaltys. Deft. will enter plea of Nolo
                        Contendra to Infor. Crt. request cnsl. file Waiver.
                        Crt. read Infor. to deft. Infor. to be filed. Deft.
                        entered plea of Nolo Contendra, USA opposes nolo
                                                                             Interval                       Lt'
                                                                       (per Section III                    Cod
                      Case 4:88-cr-00035-SEH   Document
                                      #1 Creed Miles Evans1      Filed 03/15/13       Page 21 of 25
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                  Day OJ of Trial With Jury Conti

                       contendra plea & Crt. accepts. Brooks stmt. of proof.
                      Deft. waives PSR & crt. ordered Postsentence report be
                       submitted. Crt. ordered that deft. be fined in the runt.
                       of $200.00, placed on 1 yr. prob. & to perform 100 hre.
                       of community service work to be arranged w/USPO. Deft.
                       to dispose of all firearms in his possession wli (75)
                       days & return all Federal F.F.L.'s to BATF w/i (75) days.
                       Crime before Sencencing Guidelines. Gvnt.'s Mtn. that
                       all Ct.'s of Indict be dismissed was Granced by crt.
                       1:42 p.m. crt. in recess.
    06/08/89       133 Witness List
    06/08/89       134 Gvnt.'s Exhibit List
    06/08/89      -135 Deft.'s Exh. List
    06/08/89       136 PLEA AGREEMENT Deft. EVANS
    06/08/89       137 IllFOBMATIOB Deft. EVANS
    06/08/89       138 Waiver of Indiet.-deft. EVANS
    06/08/89       139 Gvnt. '5 Mtn. to Dismiss Indict. pursuant to plea agree
    06/08/89       140 Gvnt.' s Mtn. to grant iDBDImity to WILJ,IAM A. HENDERSON
                            w/e/s in person
    06/08/89       141 ORDER--Immunity be granted to
                            w/e/e/m to ensI.-3.
i 06/08/89         142 Gvnt.'s Mtn. to grant iJnmunity to
                            w/e/s in person.
    06/08/89       143 ORDER--Immunity granted to
                            v/e/e/m to ensl.-3.
    06/08/89      144 Gvnt. r s Mtn. to grant iJnmunity to William I. Gann,
                            Jr.
                            v/e/s in person.
    06/08/89       145 ORDERImmunity granted to William I. Gann, Jr.
                            vic/elm to ensl.3.
    06/08/89       146 Gvnt.' s Mtn. to grant immunity to Eugene L. Sherman
                            v/e/e in person.
    06/08/89       147 ORDERlmmunity granted to Eugen L. Sherman
                            v/e/e/m to ensl.3.
    06/08/89       148 Gvnt. r e Mtn. to grant immunity to Noel Philip Larson
                            v/e/s in person.
    06/08/89       149 ORDERImmnnity granted to Hoel Philip Larson
                            v/e/e/m to ensl.3.
    06108/89      150   Gvnt. 's Mtn. to grant immunity to James Kelly Reed
                            v/e/s in person.
    06/08/89      151   ORDERImmunity granted to James Kelly Reed
                            v/e/e/m~o ensI.3.
    06/08/89      152   Gvnt.'s Mtn. to grant immunity to Gene D. Riggs
                            v/e/s in person.
    06/08/89      153   ORDER-Immunity granted to Gene D. Riggs
                            vlelelm to ensl.-3.
    06/08/89      154   Gvnt. 's Mtn. to grant immunity to Richard P. Timmerman
                            v/e/s in person.
    06/08/89      155 ORDER Imnnml ty granted to Richard P. Timmerman
                            v/e/e/m to ensl.-3.

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I-----+Io<>'u...n. No.1 -----------------------+""-t-"-=-+-"
 06/08/89       156      Gvnt.'s Mtn. to grant immunity to Leslie Clarnece Arne on
                              w/c/s. in person
 06/08/89       157      ORDER--Immnnity granted to Leslie Clarnece Arneson
                              w/c/c/m to cnsl.-3.
 06/08/89       158      Gvnt. 's Mtn. to grant immunity to robert herman r ..... , ""
                              w/c/s in person.
 06/08/89                ORDER--IlllDllIDity granted to Robert Herman Redla.nd
                              w/e/e/m to ensl.-3.
 06/08/89       160      Gvnt. 's Mtn. to grant jmmnnity to Ronald G. Barlow
                              w/c/s in person.
 06/08/89                ORDER--IlllDllIDity granted to Ronald G. Barlow
                              w/e/c/m to cnsl.-3.
 06/08/89       162      Gvnt. 's Mtn. to grant immunity to Russell Dean Henning gru~
                              w/c/s in person.
 06/08/89       163      ORDER-Immunity granted to Russell Dean Henningsgaard
                              w/c/e/m to ensl.-3.
 06/08/89       164      Gvnt. 's Mtn. to grant imnDmjty to Allan A. Carlson
                              w/c/s in person.
 06/08/89       165      ORDEH-IlllDllIDity granted to Allan A. Carlson
                              w/e/c/m to ensl.-3.
 06/09/89       ---     All exhibits from trial with jury & PT mtns bring are
                               in VAULT.
  06/06/89     ---     Received $200.00 from J.W. BURNS receipt #17343 as
                          pay. for fine.
  06/09/89     ---     Received $200.00 from Creed Miles Evans receipt 173 45
                          as pay. for fine.
  06/12/89    166      Subp. rtnd. [servo 06/02/89 onRichard Lewis Blaine]
  06/12/89    167      ORDER DISMISSIRG COUNTS--Indict. filed against Creed
                        Miles Evans DISMISSED pursuant to Plea Agree-w/e/e/m
                         to AUSA/Brooks, Cotter, USPO.
 06/12/89     168      Transcript of Change of Plea & Sentencing Proceedings
                           on 06/08/89 for deft. #1 CREED MILES EVANS-cpy. to UEPO
 06/12/89     169      Transcript or Change of Plea & Sentencing Proceedings
                           on 06/06/89 ror Deft. #2 JOHR W. BURRS-cpy. to USPO
 06/13/89     170       Judgment & Order--FILED & ENTERED IN CRIMINlIJ, DOCKET
                           VOLUME 10 PlIGE 43; .l1El'"I'. JOHR WILLIAM BURRS:
                           Sent. not imposed pursuant to Sent. Reform Act of
                           1984, Deft. J.W. Burns shall pay to US the sum of
                           $200.00 conSisting of following; on Ct. I fine of
                           $100.00 & on Ct. II a fine of $100.00. Sum of $200.(0
                           be paid immedlate1y . Further Ordered that J. W. Burm
                           forfeit to US all gun parts involved in charges
                           against deft.-w/c/c/m to AUSA/Brooks, cpy. plus cert.
                           cpy., Cotter, Burns, Bauer, Randono, Nickell USPO/
                           2 cpys. & USN/5 cert. cpys.
 06/13/89      1Tl       Judgment & Order-FILED & ENTERED IR CRIMINlIJ, DOCKET
                          VOLUME 10 Page 44; Den. Creed MHes Evans;
                          Deft. Evans placed on I yr. supervised prob. Comply
                          w/standard conditions of USPO & comply w/add. conditi ns
                          1/ Deft. surrender all ATF Firearms licenses of any
                              type to US atty's Butte, MT w/i 75 days.
                          2/ deft. permanently dispose of all firear211s he owr:s
                              or possess w/i 75 days
                                                                                IntefVal       Start Date   Ltr
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                   Case 4:88-cr-00035-SEH Document 1 Filed 03/15/13       Page 23 of 25
JNITED STATES DISTRICT CgURT          #1 Cred Miles Evans                          CR-88-35-Gf-PGH
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               # 171 ContInued;

                  3/. Deft. perform 100 hrs. of community service as
                       directed by USPO. Fur~her Ordered that Evans pay.
                       tp US a fine of in the am'". of $200.00 payable
                       immediate1y-w/c/e/m to AUSA/Brooks, Nickell, Cotter, Bau r,
                       Randono, W. L. Burns, USPO/2 cpys. & USM!S cert.
                       cpys.
06/19/89          Lodged Notice of Appeal Deft. Creee. Miles Evans [fee
                     paid receipt #17356]
 6128189        CONFIDENTIAL POST SENTENCE REPORT [JOHN WILLIAM BURNS]
  6/30/89   1'72 MEMO & ORDER: Deft's mtn for discovery dated 5/27/88 is
                        in all respects DENIED. Cpys to cnsl/2
  6/30/89   173 NOTICE OF APPEAL FROM CREED EVANS [fee pd on 6/l9/89/rec t Al73S6]
                          APpeals the following:
                          l/memo & order re deft's mtn to dismiss 5/16/89
                          2-memo & order denying deft's mtn to suppress 5/26 89
                          3-memo & order denying deft's mtn to compel exclup tOlY
                          material [denied in chambers 6/6/89; order 6/30/89
                 TO USCA by cert mail #062658020:
                 Cert cpy Notice of Appeal
                 Cert cpy of memo & orders filed 5/16/89, 5/26/89 & 6/30/ 9
                      [#106, 110, 172]
                 Cert cpy of judgment filed 6/13/89 [#171]
                 Orig Docket Fee Payment Form
                 Cpy of Order for Time Schedule
                 Cert cpy of docket
                 Case Information
                 To Robert Brooks & Michael Cotter:
                 Cpy Notice of Appeal
                 Cpy memo & orders #106,110,172
                 Cpy judgement #171
                 Cpy Order for Time Schedule
                 Cpy Docket Fee Payment Form
                 Cpy Docket
                 Transcript Designation Form to Cotter w/cover letter
                 To Sherry;
                 Cpy Notice of Appeal
                 Cpy memo & orders #106,110,172
                 Cpy judgment #171
                 Cpy docket
                 5x8 card
                 To Court Reporter:
                 Cpy Notice Qf Appeal
                 Cpy Order for Time Schedule
  6/30/89   174 Deft Creed Evans' Stmt of Issues w/c/m
  6/30/89   175 Deft Creed Evans' Transcript Designation Form requesting
                         transcripts of hrgs on '7/11/88, '7/14/88, 7/15/88,
                         6/6/89 , 6/7/J9 & 6/8/89
  6/30/89   176 ORDER FOR TIME SCHEDULE:
:reed Evans             Transcript ordered by 7/21/89
                        Transcript filed by 8/21/89
                        APpellant's opening brief due 10/2/89
                         ~.~                        'I '7
                                                                            Interval     S19rt Date   Lt!. Total
                         APpellant's optional brief due 11/21/89      (per Section III     End Date   Cod Days
'UNITED STATES DISTRICT COURT
             Case 4:88-cr-00035-SEH               Document 1       Filed 03/15/13   Page 24 of 25
 CRIMINAL DOCKET                                                                                    ~         CR-88-35-GF

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I------t-(Oocumenl No.1 ------------------------I--!:!..-jf----'~-_I_'''_'_f-"'''-
  7/10/89          -- Cpy of docket fee pmt form from USCA showing USCA #89-30 ' 88
                              [Creed Evans 1
  07/28/89    177 Satisfaction of Monetray Judg. Creed Miles Evans
  07/28/89    1713           Satisfaction of Monetary Judg.John William Burns
  8/21/89         79         TRANSCRIPT OF PRETRIAL MOTIONS PROCEEDINGS ON 7/11/88 [ OLl~E Il
   8/21/89        80         TRANSCRIPT OF PRETRIAL MOTIONS PROCEEDINGS ON 7/14/88 [ OLl~E II]
   8/21/89        81         TRANSCRIPT OF PRETRIAL MOTIONS PROCEEDINGS ON 7/15/88 [ OLl~E IIIl C .
   8/21'189       82         TRANSCRIPT OF TRIAL PROCEEDINGS ON 6/6/89 [VOLIJIIIE IV]            i'j" AN
   8/21/89    fL83           TRANSCRIPT OF TRIAL PROCEEDINGS ON 6/7/89 [VOLIJIIIE V]     ,                                  0

   8/21/89    fLB4           TRANSCRIPT OF TRIAL PROCEEDINGS ON 6/8/89 [VOLIJIIIE VI]
   8/21/89    -­            CERTIFICATE OF RECORD TO USCA/CREEDEVANS
                             [Trans~~ipts designated for 7/11/88, 7/14/88, 7/15/88,
                                                                                               )




                             6/6/89, 6/7/89, 6/8/89 are on file/doc #179-184] Cpys o C 081/2
   8/22/89    185           Cpy o~ Letter from Cotter stating deft Creed Evans has
                             complied w/crt'& brder of '6/13/89 [attachments]
 03/22/90     --­           Record on Appeal; Attention Fred. Taylor. USCA cert. mai.
                      P 545 954 241               " ..,          .
  4/10/90   186 Receipt of Exhibit-Michael Cotter/cnsl for Creed Evans
                    acknow recpt of Exh No 8 to be used for purposes of
                    argument before 9th Circuit on 4/12/90
  4/16/90   -­ Mike Cotter rtn Exh #8 [in vault)
  8/22/91    -­ Recd Record on ~ppeal documents re Creed Evans from USCA / '
 09130/91    -­ Certified cpy. of Decree of Crt. left side of file
 09/30/91  1'-87 Opinion from USCA Affirming US District Court Decision
 09/30/91  fL88 Judgt. from U8CA; Judgt. of Dist. C~. is AFFIRMED ~
                      Filed Entered Volume 10, Page 44 Crea:t. BJ(l.nS..J
 09/30/91  1'-89 Order from USCA; Appe11ant!s Pet. fo rehearing id
 10/3/91     90 USA'S Mtn to Release EvidenCe t9 ATE' wes             1)ENIW.
 10/3/91
 10/7 /91     "'-­
                 LODGED prop order re mtn #190 [waiting for deft resp]
           191 Deft Dan Burns' Obj to USA'S Mtn to Release Evidence wc~
                     [per Mark Bauer-a stip will be filed so that every
                      deft can have their own eXhibitsl
  10/11/91        -­
                 Call to Bauer re stip -not ready yet
  10/11/91  192 STIPULATION for Release of Evidence [signed by Bauer,
                      Cotter, Randono, Brooks & Burns] -TO PGH
 10/15/91         Called Brooks for prop orde~ re stlp #192
                  "-'-'..



 10/15/91    -­ LODGED prop order that all Avidence be reI to partie~
                  submitting evidence to crt-TO PGH
  10/16/91   193 ORDER:   all evidence now being held by C/C be released
                  to parties submitting that evidence to the Crt. Cpys
                  to Brooks, Cotter, Bauer, USM, USPO, W.Burns
  10/16/91    -­ RETURNED Deft John W. Burns' Exh til & 2 that were adm
                      at PT Mtns hrg to William Burns, Cut Bank w/recpt
                     of exhibits form to be rtn to C/C
  10/21/91   19~  Receipt of Exhibits from Mark Bauer
  10/22/91   195 Receipt of Exhibits from Bureau ATF
 11/14/91   196   Receipt cf Exhibits by Tara Estes on 11/14/91
   3/23/99                  ARCHIVE CASE Accession      ~   XXX-XX-XXXX, box 1 of 12
                             Location 720373
  02/25/03          1.97     MOTION of dft CREED MILES EVANS to vacate, re-enter JDgnnt
                             of Conviction and Brief in support of mtn
                                                                                               Interval       St&n Date         ~~~.~ Total
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 03/03/03(1'l '-1mSPONSE of USA (AUSA Rostad) to dft Creed mtn to re-enter J gmnt
                 "dummy file" to SEH for review
 BMf,MB~           ~bb O~kr ~i~~M1T~1tst~ttl~~ ~~~~~eb~~d ~-~er jgmnt of c nvi t10n is                                       I   EN ED.
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